      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 1 of 58



                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_________________________________
                                  )
Senator RICHARD BLUMENTHAL,      )
et al.,                           )
                                  )
               Plaintiffs,        )
                                  )
          v.                      )Civil Action No. 17-1154 (EGS)
                                  )
DONALD J. TRUMP, in his official )
capacity as President of the      )
United States,                    )
                                  )
               Defendant.         )
_________________________________)

                          MEMORANDUM OPINION

I.   Introduction

     When Members of Congress sue the President in federal court

over official action, a court must first determine whether the

dispute is a “Case” or “Controversy” under Article III of the

United States Constitution, rather than a political dispute

between the elected branches of government. A critical part of

this inquiry is whether the plaintiffs have legal standing to

bring the action. Whether legislators have standing to sue often

turns on whether they can obtain the remedy they seek from the

court from fellow legislators. When a legislative remedy is

available, courts generally dismiss the case on jurisdictional

grounds. The Supreme Court, however, has not foreclosed federal

courts from appropriately exercising jurisdiction over certain

types of disputes between the political branches. This case is
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 2 of 58



one of those disputes. And when a case is properly before a

court because it presents an Article III “Case” or

“Controversy,” it is the role of the Judiciary “to say what the

law is.” Marbury v. Madison, 1 Cranch 137, 177 (1803).

     Plaintiffs, approximately 201 minority Members of the 535

Members of the United States Senate and House of

Representatives, allege that Donald J. Trump in his official

capacity as President of the United States (“the President”) is

violating the Foreign Emoluments Clause (“Clause”). Under this

Clause, certain federal officials, including the President, may

not “accept” an “emolument” from “any King, Prince or foreign

State” without “the Consent of Congress.” U.S Const. art. I, §

9, cl. 8. In Count I, plaintiffs seek declaratory relief

pursuant to 28 U.S.C. § 2201 in the form of a declaratory

judgment stating that the President is violating the Clause when

he accepts emoluments from foreign states without first seeking

the consent of Congress. Am. Compl., ECF No. 14 ¶¶ 85-86. In

Count II, plaintiffs seek injunctive relief pursuant to the

Court’s inherent authority to grant equitable relief and

pursuant to 18 U.S.C. § 1331 in the form of a Court order

enjoining the President from accepting “any present, Emolument,

Office, or Title, of any kind whatever” from a foreign state

without obtaining “the Consent of Congress.” Id. ¶ 92.



                                   2
      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 3 of 58



     Pending before the Court is the President’s motion to

dismiss. The President argues that this case should be dismissed

on four independent grounds, 1 but the threshold question is

whether plaintiffs have standing to bring their claims. This

opinion addresses only this threshold question. With respect to

the grounds for dismissal that turn on the merits, the parties

dispute whether the profits that the President’s business

interests earn from foreign governments are covered

“emoluments.” However, for the purpose of determining whether

plaintiffs have standing to sue, the Court must accept as true

the allegations that the President has accepted prohibited

foreign emoluments without seeking the consent of Congress.

     As is explained more fully below, the central question for

standing purposes is how to characterize the injury that occurs

when the President fails to seek the consent of Congress, as

required by the Clause. Plaintiffs argue that each Member of

Congress suffers a particularized and concrete injury when his

or her vote is nullified by the President’s denial of the

opportunity to vote on the record about whether to approve his




1 The President seeks dismissal on these grounds: (1) lack of
subject matter jurisdiction because plaintiffs do not have
standing to bring their claims; (2) lack of a cause of action to
seek the relief requested; (3) failure to state a claim upon
which relief can be granted; and (4) the injunctive relief
sought is unconstitutional. Def.’s Mot. to Dismiss (“Mot. to
Dismiss”), ECF No. 15-1 at 17-18.
                                    3
      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 4 of 58



acceptance of a prohibited foreign emolument. The President

argues that this is an intra-branch dispute which does not

belong in federal court because the plaintiffs’ remedy is to

convince a majority of their colleagues in both Houses to pass

legislation addressing the President’s ability to accept

prohibited foreign emoluments.

      Upon careful consideration of the President’s motion to

dismiss, the opposition and reply thereto, the relevant

arguments of amici,2 the parties’ arguments at the June 7, 2018

motion hearing, and for the reasons explained below, the Court

finds that the plaintiffs have standing to sue the President for

allegedly violating the Foreign Emoluments Clause. The Court

therefore DENIES IN PART the motion to dismiss and DEFERS ruling

on the remaining arguments in the motion to dismiss.

II.   Factual Background

      Relevant to whether they have standing to bring their

claims, plaintiffs allege that the President “has a financial

interest in vast business holdings around the world that engage

in dealings with foreign governments and receive benefits from

those governments.” Am. Compl., ECF No. 14 ¶ 2. Plaintiffs also

allege that the President owns “‘more than 500 separate

entities–hotels, golf courses, media properties, books,


2 The Court appreciates the illuminating analysis provided by the
amici.
                                    4
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 5 of 58



management companies, residential and commercial buildings . . .

airplanes and a profusion of shell companies set up to

capitalize on licensing deals.’” Id. ¶ 34 (citation omitted).

     As a result of his financial interests, plaintiffs allege

the President has accepted, and will accept in the future,

emoluments from foreign states. Id. Indeed, the President has

acknowledged “that his businesses receive funds and make a

profit from payments by foreign governments, and that they will

continue to do so while he is President.” Id. ¶ 37. Public

reporting has also confirmed this to be the case. Id. The

President, through his personal attorney, has likewise asserted

that the Constitution does not require “him to seek or obtain

Congress’ consent before accepting benefits arising out of

exchanges between foreign states and his businesses.” Id. ¶ 40.

The President has therefore not provided any information to

Congress about any foreign emoluments he has received. Id. ¶ 41.

Plaintiffs allege that because the President has denied them the

opportunity to give or withhold their consent, he has injured

them in their roles as Members of Congress, id. ¶ 5, and that

they cannot force the President to comply with the Constitution

absent a judicial order, id. ¶ 83.

III. Standard of Review

     A motion to dismiss for lack of standing is properly

considered a challenge to the Court's subject matter

                                   5
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 6 of 58



jurisdiction and should be reviewed under Federal Rule of Civil

Procedure 12(b)(1). Haase v. Sessions, 835 F.2d 902, 906 (D.C.

Cir. 1987)(“[T]he defect of standing is a defect in subject

matter jurisdiction.”). The Court must therefore consider the

defendant’s motion to dismiss pursuant to Rule 12(b)(1) before

reaching a merits challenge pursuant to Rule 12(b)(6). Sinochem

Int’l Co. v. Malay Int’l Shipping Corp., 549 U.S. 422, 430-31

(2007). To survive a Rule 12(b)(1) motion to dismiss, the

plaintiff bears the burden of establishing jurisdiction by a

preponderance of the evidence. Moran v. U.S. Capitol Police Bd.,

820 F. Supp. 2d 48, 53 (D.D.C. 2011) (citing Lujan v. Defenders

of Wildlife, 504 U.S. 555, 561 (1992)). “Because Rule 12(b)(1)

concerns a court's ability to hear a particular claim, the court

must scrutinize the plaintiff's allegations more closely when

considering a motion to dismiss pursuant to Rule 12(b)(1) than

it would under a motion to dismiss pursuant to Rule 12(b)(6).”

Schmidt v. U.S. Capitol Police Bd., 826 F. Supp. 2d 59, 65

(D.D.C. 2011). In so doing, the court must accept as true all of

the factual allegations in the complaint and draw all reasonable

inferences in favor of plaintiffs, but the court need not

“accept inferences unsupported by the facts alleged or legal

conclusions that are cast as factual allegations.” Rann v. Chao,

154 F. Supp. 2d 61, 63 (D.D.C. 2001).



                                   6
      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 7 of 58



IV.   Analysis

      A.   Standing

      “Article III of the Constitution limits the jurisdiction of

the federal courts to ‘Cases’ and ‘Controversies.’” Susan B.

Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (quoting

U.S. Const. art. III, § 2). “‘One element of the case-or-

controversy requirement’ is that plaintiffs ‘must establish that

they have standing to sue.’” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 408 (2013) (quoting Raines v. Byrd, 521 U.S. 811, 818

(1997)). The standing requirement “serves to prevent the

judicial process from being used to usurp the powers of the

political branches.” Id. The standing inquiry “often turns on

the nature and source of the claim asserted” and the specific

facts alleged. Warth v. Seldin, 422 U.S. 490, 500 (1975). “[T]he

law of Art. III standing is built on a single basic idea—the

idea of separation of powers.” Allen v. Wright, 468 U.S. 737,

752 (1984).

      To establish standing, “a plaintiff must show (1) an

‘injury in fact,’ (2) a sufficient ‘causal connection between

the injury and the conduct complained of,’ and (3) a

‘likel[ihood]’ that the injury ‘will be redressed by a favorable

decision.’” Susan B. Anthony List, 134 S. Ct. at 2341 (quoting

Lujan, 504 U.S. at 560-61 (1992)); see also Hollingsworth v.

Perry, 570 U.S. 700, 705 (2013) (“To have standing, a litigant

                                    7
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 8 of 58



must seek relief for an injury that affects him in a personal

and individual way.”). These requirements help to “assure that

the legal questions presented to the court will be resolved, not

in the rarified atmosphere of a debating society, but in a

concrete factual context conducive to a realistic appreciation

of the consequences of judicial action.” Valley Forge Christian

Coll. v. Ams. United for Separation of Church & State, Inc., 454

U.S. 464, 472 (1982). “The [effect of the] exercise of judicial

power [is] most vivid when a federal court declares

unconstitutional an act of the Legislative or Executive Branch.”

Id. at 473. Therefore, to ensure the “continued effectiveness of

the federal courts in performing that role . . . it has been

recognized as a tool of last resort.” Id. at 473-74.

     “The party invoking federal jurisdiction bears the burden

of establishing these elements.” Lujan, 504 U.S. at 561

(citations omitted). “Since they are not mere pleading

requirements but rather an indispensable part of the plaintiff's

case, each element must be supported in the same way as any

other matter on which the plaintiff bears the burden of proof,

i.e., with the manner and degree of evidence required at the

successive stages of the litigation.” Id.

     When considering whether a legislator has standing, the

Court “must carefully inquire as to whether [plaintiffs] have

met their burden of establishing that their claimed injury is

                                   8
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 9 of 58



personal, particularized, concrete, and otherwise judicially

cognizable.” Raines, 521 U.S. at 820. The “standing inquiry [is]

especially rigorous when reaching the merits of the dispute

would force us to decide whether an action taken by one of the

other two branches of the Federal Government was

unconstitutional.” Id. at 819-20.

     B.   Foreign Emoluments Clause

     The Foreign Emoluments Clause provides:

          No Title of Nobility shall be granted by the
          United States: And no Person holding any
          Office of Profit or Trust under them, shall,
          without the Consent of the Congress, accept of
          any present, Emolument, Office, or Title, of
          any kind whatever, from any King, Prince, or
          foreign State.

U.S Const. art. I, § 9, cl. 8. “[T]he language of the Emoluments

Clause is both sweeping and unqualified.” 17 Op. O.L.C. 114, 121

(1993). The acceptance of an emolument barred by the Clause is

prohibited unless Congress chooses to permit an exception. Id.;

see also Letter from James Madison to David Humphreys (Jan. 5,

1803), https://founders.archives.gov/documents/Madison/02-04-02-

0275# (“the Constitution of the United States has left with

Congress the exclusive authority to permit the acceptance of

presents from foreign Governments by persons holding Offices

under the United States”). And the President may not accept any

emolument until Congress votes to give its consent.



                                   9
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 10 of 58



     The Clause was intended by the Framers to guard against

“corruption and foreign influence.” 3 M. Farrand, Records of the

Federal Convention of 1787, 327 (1966). Historically, Presidents

have complied with the Clause by either seeking and obtaining

congressional consent prior to accepting foreign presents or

emoluments, or by requesting an opinion from the Executive or

Legislative Branch’s advisory office as to whether the Clause

applies.3 See Br. of Federal Jurisdiction and Constitutional Law

Scholars as Amici Curiae in Support of Pls., ECF No. 44 at 24. 4

One such example occurred in 1830 when President Jackson placed

“‘at the disposal of Congress’” a gold medal presented to him by

the Republic of Colombia, noting that accepting presents from a

foreign government is prohibited by the Constitution. Id.

(quoting Message of President Andrew Jackson to the Senate and

House of Representatives, dated January 19, 1830, 3 Compilation

of the Messages and Papers of the Presidents 1029, 1030 (James

D. Richardson ed., 1897)). Similarly, when the King of Siam

presented President Lincoln with various gifts, he informed

Congress, which directed that the gifts “‘be deposited in the


3 In deciding a motion to dismiss, “a Court may take judicial
notice of historical, political, or statistical facts, or any
other facts that are verifiable with certainty.” Youkelsone v.
FDIC, 910 F. Supp. 2d 213, 221 (D.D.C. 2012) (citing Mintz v.
FDIC, 729 F. Supp. 2d 276, 278 n.2 (D.D.C. 2010)).
4 When citing electronic filings throughout this opinion, the

Court cites to the ECF header page number, not the original page
number of the filed document.
                                   10
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 11 of 58



collection of curiosities at the Department of Interior.’” Id.

at 25 (quoting Joint Resolution No. 20, A Resolution providing

for the Custody of the Letter and Gifts from the King of Siam,

Res. 20, 37th Cong., 12 Stat. 616 (1862)).

     Modern Presidents, except for President Trump, have sought

advice from the Department of Justice Office of Legal Counsel

(“OLC”) prior to accepting potentially covered emoluments. Id.

For example, President Kennedy requested an opinion on whether

the offer of an “honorary Irish citizenship” would fall within

the scope of the Clause. Id. (citing 1 Op. O.L.C. Supp. at 278).

And prior to his acceptance of the Nobel Peace Prize in 2009,

President Obama requested an opinion from OLC as to whether

accepting the prize would conflict with the Clause. Id.

     Since the Clause prohibits the President from accepting a

prohibited foreign emolument unless Congress votes to consent,

the Constitution gives each individual Member of Congress a

right to vote before the President accepts. Under the

Constitution, Congress expresses its consent through the

combined votes of its individual members. U.S. Const. art. I, §

9, cl. 8. Congress “consist[s] of a Senate and House of

Representatives.” Id. art. I, § 1. The “Consent of Congress” is

obtained when a majority of the individual members of each House

vote to consent. Id. art. I, § 3, cl. 1 (“each Senator shall

have one Vote”); id. art. I, § 5, cl. 3 (requiring, at the

                                   11
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 12 of 58



request of one-fifth of those present, that “the Yeas and Nays

of the Members of either House on any question” to be recorded).

That Congress acts as “the body as a whole” 5 in providing or

denying consent does not alter each Member’s constitutional

right to vote before the President accepts a prohibited foreign

emolument because the body can give its consent only through a

majority vote of its individual members.

     C.   Plaintiffs Have Standing to Bring their Claims

     The President argues that the Court lacks jurisdiction over

plaintiffs’ claims because plaintiffs have not met their burden

to establish a judicially cognizable injury as is required by

Article III. Def.’s Mot. to Dismiss (“Mot. to Dismiss”), ECF No.

15 at 21-28; Def.’s Reply (“Reply”), ECF No. 28 at 10-19. The

President also disputes that the alleged injury is fairly

traceable to him. Mot. to Dismiss, ECF No. 15-1 at 24; Reply,

ECF No. 28 at 8.

     Plaintiffs contend that they have standing: (1) the injury-

in-fact they have suffered is that the President has denied them

a voting opportunity to which the Constitution entitles them;

(2) the injury is fairly traceable to the President’s conduct


5 United States v. Ballin, 144 U.S. 1, 7 (1892) (“The two houses
of congress are legislative bodies representing larger
constituencies. Power is not vested in any one individual, but
in the aggregate of the members who compose the body, and its
action is not the action of any separate member or number of
members, but the action of the body as a whole.”).
                                   12
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 13 of 58



because he has neither asked for their consent nor provided them

with any information about the prohibited foreign emoluments he

has already allegedly accepted; and (3) the injury can be

redressed by a favorable judicial decision if the Court requires

the President to obtain congressional consent before accepting

prohibited foreign emoluments. Pls.’ Opp’n, ECF No. 17 at 13.

     As discussed below, the President’s arguments rely on a

repeated misstatement of the injury alleged and on proffers of

plainly inadequate legislative remedies. The Court is persuaded

that plaintiffs have sustained their burden to show that they

have standing to bring their claims: (1) they have adequately

alleged a judicially cognizable injury that is fairly traceable

to the President and can be redressed by a favorable judicial

decision; and (2) although plaintiffs’ claims raise separation-

of-powers concerns, plaintiffs have no adequate legislative

remedy and this dispute is capable of resolution through the

judicial process.

          1. Supreme Court and D.C. Circuit Precedent

             a. Raines v. Byrd

     The parties rely heavily on the Supreme Court’s decision in

Raines v. Byrd. See generally Mot. to Dismiss, ECF No. 15-1;

Pls.’ Opp’n, ECF No. 17; Reply, ECF No. 28 (discussing Raines,

521 U.S. 811 (1997)). The President argues that plaintiffs lack

standing pursuant to Raines; plaintiffs respond that Raines does

                                   13
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 14 of 58



not foreclose their standing to bring their claims and indeed

provides support for it. The Court will therefore discuss the

case in detail.

     In Raines, six members of Congress who had voted against

the Line Item Veto Act (“Act”) sued the Secretary of the

Treasury and the Director of the Office of Management and

Budget, challenging the constitutionality of the Act. Raines,

521 U.S. at 814. The Act authorized the President to “‘cancel’

certain spending and tax benefit measures after he ha[d] signed

them into law.” Id. The plaintiffs claimed that the Act injured

them in their official capacities by: (1) “‘alter[ing] the legal

and practical effect of all votes they may cast on bills’”

subject to the Act; (2) “‘divest[ing] [them] of their

constitutional role in the repeal of legislation’”; and

(3) “‘alter[ing] the constitutional balance of powers between

the Legislative and Executive Branches . . . .’” Id. at 816

(quoting Compl.).

     At issue was whether the plaintiffs had standing to bring

their claims. The Court began its inquiry by focusing on the

requirement in standing analysis that the injury be a personal

one: “We have consistently stressed that a plaintiff’s complaint

must establish that he has a ‘personal stake’ in the alleged

dispute, and that the alleged injury suffered is particularized

as to him.” Id. at 819 (quoting Lujan, 504 U.S. at 560-61 and

                                   14
      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 15 of 58



n.1). Next, the Court noted “[w]e have also stressed that the

alleged injury must be legally and judicially cognizable. This

requires, among other things, that the plaintiff have suffered

‘an invasion of a legally protected interest which is . . .

concrete and particularized,’ Lujan, 504 U.S. at 560, and that

the dispute is ‘traditionally thought to be capable of

resolution through the judicial process.’” Id. (quoting Flast v.

Cohen, 392 U.S. 83, 97 (1968)). Finally, the Court noted that

the jurisdictional standing requirement must be strictly

complied with: “our standing inquiry has been especially

rigorous when reaching the merits of the dispute would force us

to decide whether an action taken by one of the other two

branches of the Federal Government was unconstitutional.” Id. at

819-20 (citations omitted). “‘[T]he law of Art. III standing is

built on a single basic idea—the idea of separation of powers.’”

Id. at 820 (quoting Allen, 468 U.S. at 751). In view of these

observations, the Court concluded that it “must carefully

inquire as to whether appellees have met their burden of

establishing that their claimed injury is personal,

particularized, concrete, and otherwise judicially cognizable.”

Id.

      The Court distinguished Powell v. McCormack, in which it

held that a Congressman’s “constitutional challenge to his

exclusion from the House of Representatives (and his consequent

                                    15
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 16 of 58



loss of salary) presented an Article III case or controversy,”

id. at 820-21 (citing Powell, 395 U.S. 486, 496, 512-14 (1969)),

on two grounds. First, the Raines plaintiffs had not been

singled out for unfavorable treatment from the other members of

their respective bodies as occurred in Powell; rather, “[t]heir

claim is that the Act causes a type of institutional injury (the

diminution of legislative power), which necessarily damages all

Members of Congress and both Houses of Congress equally.” Id. at

821. Second, the Raines plaintiffs “[did] not claim that they

have been deprived of something to which they are personally

entitled . . .” id.; rather, their

          claim of standing is based on a loss of
          political power, not loss of any private
          right, which would make the injury more
          concrete. . . . [T]he injury claimed by the
          Members of Congress here is not claimed in any
          private capacity but solely because they are
          Members of Congress. If one of the Members
          were to retire tomorrow, he would no longer
          have a claim; the claim would be possessed by
          his successor instead. The claimed injury thus
          runs (in a sense) with the Member’s seat, a
          seat which the Member holds (it may quite
          arguably be    said) as     trustee for    his
          constituents, not as a prerogative of personal
          power.

Id. (internal citation omitted). Thus, according to the Court,

the Raines plaintiffs’ injury was an institutional one and not

sufficiently concrete and personal.

     The Court then distinguished Coleman v. Miller, “[t]he one

case in which we have upheld standing for legislators (albeit

                                   16
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 17 of 58



state legislators) claiming an institutional injury.” Id.

(discussing Coleman v. Miller, 307 U.S. 433 (1939)). In Coleman,

the vote on whether to ratify a proposed federal constitutional

amendment was tied at twenty to twenty, which meant the

amendment would not have been ratified. Id. at 822 (citing

Coleman, 307 U.S. at 436). The Lieutenant Governor, as the

presiding officer of the State Senate, cast a vote in favor of

the amendment and it was deemed ratified. Id. The twenty state

senators who had voted against the amendment sued, and

eventually the Court held that the members of the legislature

had standing because “if these legislators (who were suing as a

bloc) were correct on the merits, then their votes not to ratify

the amendment were deprived of all validity.” Id. In Raines, the

Court clarified that “our holding in Coleman stands . . . for

the proposition that legislators whose votes would have been

sufficient to defeat (or enact) a specific legislative Act have

standing to sue if that legislative action goes into effect (or

does not go into effect), on the ground that their votes have

been completely nullified.” Id. at 823. Noting that this is what

the Coleman holding stands for “at most,” the Court declined to

distinguish Coleman on, inter alia, the ground that “Coleman has

no applicability to a similar suit brought by federal

legislators, since the separation-of-powers concerns present in

such a suit were not present in Coleman . . . .” Id. at 824 n.8.

                                   17
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 18 of 58



     The Court then distinguished the claims in Raines from

those in Coleman:

          [Here], [plaintiffs] have not alleged that
          they voted for a specific bill, that there
          were sufficient votes to pass the bill, and
          that the bill was nonetheless deemed defeated.
          In the vote on the Act, their votes were given
          full effect. They simply lost that vote. Nor
          can they allege that the Act will nullify
          their votes in the future in the same way that
          the votes of the Coleman legislators had been
          nullified. In the future, a majority of
          Senators and Congressmen can pass or reject
          appropriations bills; the Act has no effect on
          this process. In addition, a majority of
          Senators and Congressmen can vote to repeal
          the Act, or to exempt a given appropriations
          bill   (or    a   given   provision    in   an
          appropriations bill) from the Act; again, the
          Act has no effect on this process.

Id. at 824 (footnote omitted). Thus, according to the Court, the

Raines plaintiffs could not allege that their votes had been

nullified in the past; rather, they had lost the vote on the

Act. See id. And the Raines plaintiffs could not allege that

their votes would be nullified in the future because they had a

variety of legislative remedies at their disposal. See id.

     The Court then considered the lack of a historical practice

of lawsuits being filed “on the basis of claimed injury to

official authority or power” as a result of analogous

confrontations between the Legislative and Executive Branches of

the federal government. Id. at 826; see also infra Section

IV.3.b. The Court concluded that, under the Constitution, it is


                                   18
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 19 of 58



not the role of the Article III courts to have “‘some amorphous

general supervision of the operations of government . . . .’”

Raines, 521 U.S. at 829 (quoting United States v. Richardson,

418 U.S. 166, 192 (1974) (Powell, J., concurring)).

     The Court rejected the Raines plaintiffs’ basis for

standing, ultimately holding that “these individual members of

Congress do not have a sufficient ‘personal stake’ in this

dispute and have not alleged a sufficiently concrete injury to

have established Article III standing.” Id. at 830 (no citation

for internal quotation in original). In so holding, the Court

noted that “appellees have alleged no injury to themselves as

individuals (contra, Powell), the institutional injury they

allege is wholly abstract and widely dispersed (contra,

Coleman), and their attempt to litigate this dispute at this

time and in this form is contrary to historical experience.” Id.

at 829. The Court stated that it “attach[ed] some importance to

the fact that appellees have not been authorized to represent

their respective Houses of Congress in this action, and indeed

both Houses actively oppose their suit.” Id. (footnote omitted).

The Court also thought it important to note that “our conclusion

[does not] deprive[] Members of Congress of an adequate remedy

(since they may repeal the Act or exempt appropriations bills

from its reach) nor forecloses the Act from constitutional



                                   19
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 20 of 58



challenge (by someone who suffers judicially cognizable injury

as a result of the Act).” Id.

             b. Arizona State Legislature v. Arizona Independent
                Redistricting Commission

     Relying on Coleman, the Supreme Court recently reaffirmed

that legislators, albeit state legislators as an institutional

plaintiff, have standing to sue based on a vote nullification

claim. In Arizona State Legislature v. Arizona Independent

Redistricting Commission, the state legislature plaintiff

challenged a ballot measure that would have denied it the

authority to draw congressional districts. 135 S. Ct. 2652, 2659

(2015). The legislature’s alleged injury was that the ballot

initiative deprived it of its legislative prerogative to

initiate redistricting. Id. at 2663. Relying on Coleman, as

clarified in Raines, the Court held that the plaintiff had

standing because “their votes have been completely nullified.”

Id. at 2665 (quoting Raines, 521 U.S. at 823). As the Court

explained, “[o]ur conclusion that the Arizona Legislature has

standing fits [within Coleman]” because the ballot initiative

“together with the Arizona Constitution’s ban on efforts to

undermine the purposes of an initiative” would “‘completely

nullif[y]’ any vote by the Legislature, now or ‘in the future,’

purporting to adopt a redistricting plan.” Id. at 2667 (quoting

Raines, 521 U.S. at 823-24). The Court distinguished Raines on


                                   20
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 21 of 58



the grounds that Raines had not been brought by an institutional

plaintiff: “The Arizona Legislature, in contrast, is an

institutional plaintiff asserting an institutional injury, and

it commenced this action after authorizing votes in both of its

chambers. That ‘different . . . circumstanc[e],’ was not sub

judice in Raines.” Id. at 2664 (citation omitted). The Court also

noted that the case before it “does not touch or concern the

question whether Congress has standing to bring a suit against

the President . . . which would raise separation of powers

concerns absent here.” Id. at 2665 n.12.



                        *     *    *     *     *



     In sum, Raines teaches that when a suit is brought by an

individual Member of Congress, the member can allege either a

personal injury or an institutional injury. If the injury is

personal, standing is present when the injury arises out of

something to which the member is personally entitled, such as

the salary associated with his or her seat. As to an

institutional injury, the Court has recognized standing when a

legislator’s vote has been completely nullified. The Supreme

Court has upheld legislator standing based on a vote

nullification claim in two instances. In Coleman, a bloc of

individual state “legislators whose votes would have been

                                   21
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 22 of 58



sufficient to defeat (or enact) a specific legislative Act have

standing to sue if that legislative action goes into effect (or

does not go into effect), on the ground that their votes have

been completely nullified.” Raines, 521 U.S. at 823 (footnote

omitted). In Arizona State Legislature, the legislature, as an

institutional plaintiff authorizing the lawsuit, had standing to

sue based on the alleged nullification of their votes “now” or

“in the future” as a result of a ballot initiative. 135 S. Ct.

at 2667. Although neither of these cases implicated federal

separation-of-powers concerns, the Raines Court specifically

declined to hold that Coleman would be inapplicable “to a

similar suit brought by federal legislators.” Raines, 521 U.S.

at 824 n.8.

     Raines also teaches that it is not necessary for an

institutional claim to be brought by or on behalf of the

institution. Id. at 829 (“We attach some importance to the fact

that appellees have not been authorized to represent their

respective Houses of Congress in this action, and indeed both

Houses actively oppose their suit.”). Indeed, in Coleman, the

claim was not brought on behalf of the state senate as an

institutional plaintiff, but rather by a bloc of individual

legislators who had voted not to ratify the constitutional

amendment. 307 U.S. at 436. Finally, by not overruling Coleman,

the Raines Court suggests that vote nullification is an

                                   22
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 23 of 58



institutional injury that is personal, although not in the sense

that the injury in Powell was personal, to the legislators

entitled to cast the vote that has been nullified.

     Regarding the separation-of-powers concerns implicated by

an inter-branch suit, Raines instructs the Court to consider

whether there is a lack of a historical practice of lawsuits

being filed “on the basis of claimed injury to official

authority or power” as a result of analogous confrontations

between the Legislative and Executive Branches of the federal

government. Raines, 521 U.S. at 826. Raines also instructs the

Court to consider whether there is an adequate legislative

remedy and whether another plaintiff could bring the case. Id.

             c. D.C. Circuit Precedent

     The Court of Appeals for the District of Columbia Circuit

(“D.C. Circuit”) has applied Raines twice, each time finding

legislator standing to be foreclosed. 6 In Chenoweth v. Clinton,

four members of Congress sued the President and another


6 Because the Court has determined that plaintiffs have standing
to bring their claims pursuant to Raines and subsequent D.C.
Circuit precedent, it need not address the parties’ arguments
regarding pre-Raines D.C. Circuit authority. At oral argument,
the Court questioned plaintiffs about their reliance on pre-
Raines D.C. Circuit authority, given that Raines called into
question portions of that authority. See Chenoweth, 181 F.3d
112, 115 (D.C. Cir. 1999). In response, plaintiffs clarified
their reliance on Raines and post-Raines D.C. Circuit precedent
for the proposition that they have standing based on their vote
nullification claim. Hr’g Tr., ECF No. 54 at 20:22-24.


                                   23
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 24 of 58



Executive Branch official to enjoin the implementation of the

American Heritage Rivers Initiative (“AHRI”), a program

President Clinton created by Executive Order. 181 F.3d 112, 112

(D.C. Cir. 1999). After President Clinton announced his

intention to create the AHRI, three of the four plaintiffs

introduced a bill to end the program, but it never came to a

vote. Id. at 113. Plaintiffs then sued, alleging that the

President’s creation of the program by Executive Order “deprived

[the plaintiffs] of their constitutionally guaranteed

responsibility of open debate and vote on issues and legislation

involving interstate commerce, federal lands, the expenditure of

federal monies, and implementation of the [National

Environmental Policy Act].” Id. (citing Compl.). Applying

Raines, the Court held that the plaintiffs lacked standing

because the injury they alleged was “a dilution of their

authority as legislators,” which was “identical to the injury

the Court in Raines deprecated as ‘widely dispersed’ and

‘abstract.’” Id. at 115 (no citation for internal quotation in

original). The Court reasoned that “[i]f, as the Court held in

Raines, a statute that allegedly ‘divests [congressmen] of their

constitutional role’ in the legislative process does not give

them standing to sue, then neither does an Executive Order that

allegedly deprives congressmen of their ‘right[] to participate

and vote on legislation in a manner defined by the

                                   24
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 25 of 58



Constitution.’” Id. (citation omitted). A central element of the

Court’s reasoning was that “[i]t [was] uncontested that the

Congress could terminate the AHRI were a sufficient number in

each House so inclined.” Id. at 116.

     In view of the Supreme Court’s decision in Raines, the

Court considered whether its earlier ruling in Kennedy v.

Sampson survived. Id. at 116-17 (discussing Kennedy v. Sampson,

511 F.2d 430 (D.C. Cir. 1974)). In Kennedy, the Court held,

partially relying on the pre-Raines understanding of Coleman,

that an individual Senator had standing to challenge a

Presidential pocket veto. Kennedy, 511 F.2d at 433-35. Noting

that Raines narrowed the Coleman holding, the Court stated that

Kennedy may nonetheless remain good law:

          Even under this narrow interpretation, one
          could argue that the plaintiff in Kennedy had
          standing. The pocket veto challenged in that
          case had made ineffective a bill that both
          houses of the Congress had approved. Because
          it was the President’s veto—not a lack of
          legislative support—that prevented the bill
          from becoming law (either directly or by the
          Congress voting to override the President’s
          veto), those in the majority could plausibly
          describe the President’s action as a complete
          nullification of their votes.

Chenoweth, 181 F.3d. at 116-17 (emphasis added). The Court

distinguished the claims before it from Coleman on the ground

that plaintiffs “do not allege that the necessary majorities in

Congress voted to block the AHRI. Unlike the plaintiffs in


                                   25
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 26 of 58



Kennedy and Coleman, therefore, they cannot claim their votes

were effectively nullified by the machinations of the

Executive.” Id. at 117.

     In the second post-Raines case considered, Campbell v.

Clinton, thirty-one Members of Congress sued President Clinton,

alleging that he violated the War Powers Resolution and the War

Powers Clause of the Constitution by directing the participation

of U.S. forces in Yugoslavia. 203 F.3d 19, 19 (D.C. Cir. 2010).

A month after President Clinton announced that participation,

Congress voted on four resolutions related to the conflict:

(1) a declaration of war was defeated 427 to 2; (2) an

“authorization” of the air strikes was defeated 213 to 213;

(3) a resolution that would have required the President to end

U.S. participation in the operation was defeated; and

(4) funding for involvement in the operation was approved. Id.

at 20. Plaintiffs claimed that they fit within the “Coleman

exception to the Raines rule” by filing suit after having

“defeat[ed] the War Powers Resolution authorization by a tie

vote.” Id. at 22. The Court found neither of their claims to be

analogous to the nullification that occurred in Coleman, which

the Court understood “to mean treating a vote that did not pass

as if it had, or vice versa.” Id. at 22. In Coleman, “state

officials endorsed a defeated ratification, treating it as

approved, while the President here did not claim to be acting

                                   26
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 27 of 58



pursuant to the defeated declaration of war or a statutory

authorization, but instead ‘pursuant to [his] constitutional

authority to conduct U.S. foreign relations and as Commander-in-

Chief and Chief Executive.’” Id. at 22 (discussing Coleman v.

Miller, 307 U.S. 433 (1939) and quoting Letter to Congressional

Leaders Reporting on Airstrikes Against Serbian Targets in the

Federal Republic of Yugoslavia (Serbia and Montenegro), 35

Weekly Comp. Pres. Doc. 528 (Mar. 26, 1999)). The Court reasoned

that plaintiffs’ argument based on the War Powers Resolution,

“although cast in terms of the nullification of a recent vote,

essentially is that the President violated the . . . War Powers

Resolution” and their argument based on the War Powers Clause

“is that the President has acted illegally-in excess of his

authority-because he waged war in a constitutional sense without

a congressional delegation.” Id. Regarding the Raines Court’s

use of the word “nullification,” the Court stated:

          We think the key to understanding the Court’s
          treatment of Coleman and its use of the word
          nullification is its implicit recognition that
          a ratification vote on a constitutional
          amendment is an unusual situation. It is not
          at all clear whether once the amendment was
          “deemed ratified,” see Raines, 521 U.S. at
          822, the Kansas Senate could have done
          anything to reverse that position. We think
          that must be what the Supreme Court implied
          when it said the Raines plaintiffs could not
          allege that the “[Line Item Veto Act] would
          nullify their votes in the future,” and that,
          after all, a majority of senators and
          congressmen could always repeal the Line Item

                                   27
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 28 of 58



          Veto Act. Id. at 824 (emphasis added). The
          Coleman senators, by contrast, may well have
          been powerless to rescind a ratification of a
          constitutional amendment that they claimed had
          been defeated. In other words, they had no
          legislative remedy.


Id. at 22-23 (quoting Raines, 521 U.S. at 824) (footnote

omitted). Applying Raines, the Court held that the plaintiffs

lacked standing under “the Coleman exception” because they had

“ample legislative power to have stopped prosecution of the

‘war’” despite having lost the vote on the War Powers Resolution

authorization. Id. at 23 (no citation for internal quotation in

original). Therefore, despite the tie vote, the Campbell

plaintiffs had legislative remedies at their disposal, unlike

the situation in Coleman.



                        *     *    *     *     *



     In sum, D.C. Circuit precedent teaches that individual

Members of Congress do not have standing to sue the Executive

Branch when their institutional injury is such that they can

obtain their remedy in Congress. In Campbell, the Court

understood vote nullification “to mean treating a vote that did

not pass as if it had, or vice versa.” Campbell, 203 F.3d at 22.

In Chenoweth, the Court suggested that notwithstanding Raines, a

single Member of Congress could have standing to sue based on a

                                   28
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 29 of 58



vote nullification claim when it was the President’s action,

rather than “a lack of legislative support,” that nullified the

Member’s vote. Chenoweth, 181 F.3d at 117. Such a situation is

therefore a third instance of a type of vote nullification for

which a legislator could have standing. 7

          2. Plaintiffs Adequately Allege a Judicially Cognizable
             Injury

             a. Injury-in-Fact

     To establish that they have an injury-in-fact, plaintiffs

must allege that their injury is “personal, particularized,

concrete, and otherwise judicially cognizable.” Raines, 521 U.S.

at 820. Regarding the requirement that the injury be “legally

and judicially cognizable,” “the plaintiff [must allege to] have

suffered ‘an invasion of a legally protected interest which is .




7 The closest constitutional analogy to plaintiffs’ claims here
is that in Kucinich v. Bush. 236 F. Supp. 2d 1 (D.D.C. 2002). In
that case, thirty-two Members of the House of Representatives
“challenged President Bush’s unilateral withdrawal from the 1972
Anti-Ballistic Missile Treaty . . . without the approval of
Congress,” contending that President Bush was required to obtain
their consent before terminating a treaty. Id. at 1. Applying
Raines, Chenoweth, and Campbell, the Court held plaintiffs did
not have standing because their “claim of a ‘grievous
institutional injury’ where they are ‘deprived of their
constitutional right . . . to participate in treaty termination’
was no different from the institutional injuries alleged in
Chenoweth, Campbell, and Raines.” Id. at 9. The Court did not
discuss whether the plaintiffs’ votes had been nullified. In any
event, the Court also concluded that the plaintiffs’ raised a
nonjusticiable political question. Id. The President has not
argued that the claims here involve nonjusticiable political
questions. Therefore, this persuasive authority is inapposite.
                                   29
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 30 of 58



. . concrete and particularized’ Lujan, 504 U.S. at 560, and

that the dispute is ‘traditionally thought to be capable of

resolution through the judicial process.’” Id. at 819 (quoting

Flast, 392 U.S. at 97).

             b. Plaintiffs Adequately Allege an Institutional
                Injury

     In the context of legislator standing, the Supreme Court

has recognized at least one type of institutional injury for

which legislators may have standing to sue: complete vote

nullification. Coleman, 307 U.S. at 438; Raines, 521 U.S. at

821-23; Ariz. State Legislature, 135 S. Ct. at 2667; Cummings v.

Murphy, No. 17-2308, slip op. at 18 (D.D.C. Aug. 14, 2018)

(“[c]omplete vote nullification is clearly a type of

institutional injury sufficient to support legislator

standing”). Since an institutional injury will “necessarily

damage all Members of Congress and both Houses of Congress

equally,” Raines, 521 U.S. at 821, it will not be a personal

injury in the sense that the injury in Powell was personal. If

institutional injuries were incapable of also being personal to

individual members of the institution, however, the Court in

Raines would have overruled Coleman. Id. at 819 (“We have

consistently stressed that a plaintiff’s complaint must

establish that he has a ‘personal stake’ in the alleged dispute,

and that the alleged injury suffered is particularized as to


                                   30
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 31 of 58



him.”). Instead, the Supreme Court reaffirmed Coleman in both

Raines, id. at 821, and Arizona State Legislature, 135 S. Ct. at

2665, necessarily holding that the institutional injury alleged

–vote nullification–was sufficiently personal to each of the

individual plaintiffs to satisfy the standing requirement under

Article III.

     The Clause requires the President to ask Congress before

accepting a prohibited foreign emolument. Accepting the

allegations in the Complaint as true, which the Court must at

this juncture, the President is accepting prohibited foreign

emoluments without asking and without receiving a favorable

reply from Congress. The “nature and source of the claim,”

Warth, 422 U.S. at 500, is an unusual 8 constitutional provision

which unambiguously prohibits the President from accepting any

emolument from “any King, Prince or foreign State” unless

Congress chooses to permit an exception. U.S. Const. art. I, §

9, cl. 8; 17 Op. O.L.C. 114, 121 (1993). The specific facts

alleged are that the President has accepted, and intends to

continue accepting, prohibited foreign emoluments without

seeking congressional consent. Am. Compl., ECF No. 14 ¶¶ 4, 37,

39, 40, 77, 78, 79. Furthermore, the President has not provided


8 The only similar provision is the Article II requirement that
the President obtain the advice and consent of Congress prior to
taking covered executive branch action. U.S. Const. art. II, §
2, cl. 2.
                                   31
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 32 of 58



any information to Congress about any foreign emoluments he has

received. Id. ¶¶ 41, 80. The President is depriving plaintiffs

of the opportunity to give or withhold their consent, thereby

injuring them “in their roles as members of Congress.” Id. ¶ 5.

Specifically, the President has neither sought plaintiffs’

consent prior to accepting prohibited foreign emoluments, nor

provided any information to Congress about them, thereby

preventing plaintiffs from “exercis[ing] their constitutional

prerogative to authorize or reject the specific emoluments he is

accepting.” Id. ¶ 41. Plaintiffs adequately allege that the

President has completely nullified their votes in the past

because he has accepted prohibited foreign emoluments as though

Congress had provided its consent. And he will completely

nullify their votes in the future for the same reason, as

plaintiffs allege that he intends to continue this practice. The

President’s alleged acceptance of prohibited foreign emoluments

as though Congress provided consent is indistinguishable from

“treating a vote that did not pass as if it had, or vice versa.”

Campbell, 203 F.3d at 22. And, as soon as the President accepts

a prohibited foreign emolument without obtaining congressional

consent, his acceptance is irreversible. Id. at 22-23.

Accordingly, plaintiffs adequately allege that the President has

completely nullified their votes.



                                   32
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 33 of 58



     Although plaintiffs do not sue on behalf of Congress, but

rather in their individual official capacities as Members of

Congress, their ability to bring this suit is not foreclosed by

Supreme Court and D.C. Circuit precedent. The Raines Court did

not hold that it would be necessary for an institutional claim

to be brought by or on behalf of the institution. Raines, 521

U.S. at 829. Rather, the fact that the case had not been

authorized by the institution was a relevant consideration, but

not dispositive, in determining that the Raines plaintiffs

lacked standing. Id. Moreover, the claim in Coleman was not

brought on behalf of the state senate as an institutional

plaintiff, but rather by a bloc of individual members who had

voted not to ratify the constitutional amendment. Coleman, 307

U.S. at 438. The Supreme Court distinguished Raines from Arizona

State Legislature because the latter was brought by the

legislature as an institution, Ariz. State Legislature, 135 S.

Ct. at 2664, but in finding the legislature to have standing,

the Supreme Court did not hold that an institutional claim may

be brought only by the institution. See generally id.

Furthermore, notwithstanding Raines, a single Member of Congress

could have standing to sue based on a vote nullification claim

when it was the President’s action, rather than “a lack of

legislative support,” that nullified the Member’s vote.

Chenoweth, 181 F.3d at 117.

                                   33
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 34 of 58



                i. The President Misstates the Injury

     The President acknowledges that “when a legislative vote is

deemed defeated by executive action,” the legislator has

standing to sue unless there is a legislative remedy. Mot. to

Dismiss, ECF No. 15-1 at 17. Although he disputes that

plaintiffs’ votes have been “defeated by executive action,” his

argument relies on a misstatement of the alleged injury. The

President contends that plaintiffs cannot plausibly allege that

he has prevented votes from being taken on the emoluments bills

pending before Congress,9 or that he has prevented Congress from

otherwise voting on the emoluments issue. Id. at 24, 26. He also

emphasizes that Congress may still choose to vote on the pending

bills or on bills introduced in the future. Id. at 26. However,

the votes contemplated by the President are not votes to

consent, or not, in response to the President’s request for

consent prior to his acceptance of a prohibited foreign

emolument. Rather, these are votes on the issue of emoluments.

Injury to their power to legislate on the issue of emoluments is

not the injury plaintiffs allege. See generally Am. Compl., ECF

No. 14. To be clear, plaintiffs’ alleged injury is caused by the


9 See S. Con. Res. 8, 115th Cong. (2017) (among other things,
declaring the President’s dealings through his companies with
foreign governments to be potential violations of the emoluments
clause); H.R.J. Res. 16, 115th Cong. (2017) (denying
congressional consent for the President to accept any foreign
emolument during his Presidency).
                                   34
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 35 of 58



President’s alleged refusal to give them the opportunity to

exercise their constitutional right to vote on whether to

consent prior to his acceptance of prohibited foreign

emoluments. It is irrelevant that Congress can express its

consent through legislation on the issue of emoluments or that

it has done so in the past on limited occasions. 10 In the absence

of such legislation, the President deprives plaintiffs of the

opportunity to vote every time he accepts an emolument from “any

King, Prince, or foreign State” without the consent of Congress.

U.S. Const. art. I, § 9, cl. 8. 11

                ii. The President Reads the Precedent too
                    Narrowly

     According to the President, a Court may conclude that

plaintiffs have standing for a vote nullification claim only

when they can “allege that ‘the necessary majorities in the

Congress voted’ to withhold consent to the President’s alleged


10 See Foreign Gifts and Decorations Act of 1966, 5 U.S.C. §
7342.
11 Similarly, the President argues that unlike the situation in

Coleman, there is nothing that is “unusual” or “irreversible”
here because Congress may choose to vote on “the emoluments
issue” in the future. Mot. to Dismiss, ECF No. 15-1 at 26;
Reply, ECF No. 28 at 14. Again, the President’s argument relies
on the same misstatement of the alleged injury. Moreover, each
time the President accepts prohibited foreign emoluments without
the consent of Congress, that acceptance without consent is
irreversible. Finally, although not “unusual” in the sense that
word was used in Coleman, the President’s failure to comply with
the Clause is highly unusual given that prior Presidents have
ensured that their actions were consistent with the Clause. See
supra Section IV.B.
                                   35
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 36 of 58



acceptance of prohibited foreign emoluments.” Mot. to Dismiss,

ECF No. 15-1 at 25 (quoting Chenoweth, 181 F.3d at 117). As an

initial matter, again the President has misstated the injury.

Moreover, the Court disagrees with this narrow reading of

Coleman. Although the Raines Court narrowed the Coleman holding,

the Court neither held nor implied that the only type of vote

nullification claim for which a legislator would have standing

would be “legislators whose votes would have been sufficient to

defeat (or enact) a specific legislative Act . . . if that

legislative action goes into effect (or does not go into

effect), on the ground that their votes have been completely

nullified.” Raines, 521 U.S. at 823. Indeed, following Raines,

the Supreme Court recognized that the Arizona State Legislature

as an institutional plaintiff had standing to bring a vote

nullification claim. See Ariz. State Legislature, 135 S. Ct. at

2667. The legislature there did not allege that it had the

“necessary majorities” to take action; rather the claimed injury

was that the ballot initiative deprived the plaintiff of a

legislative “prerogative.” Id. at 2663. The D.C. Circuit has

emphasized that the Coleman exception is a “narrow rule,”

Chenoweth, 181 F.3d at 116; see Campbell, 203 F.3d at 22-23, and

has interpreted the Coleman exception “to mean treating a vote

that did not pass as if it had, or vice versa,” Campbell, 203

F.3d at 22. As the Court has explained, supra Section IV.C.2.b,

                                   36
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 37 of 58



here the President has allegedly accepted prohibited foreign

emoluments as though Congress has provided its consent, which is

indistinguishable from “treating a vote that did not pass as if

it had, or vice versa.”12 Id.

     The President insists that upholding standing here would

require a “drastic extension of Coleman,” which the Supreme

Court in Raines rejected. Mot. to Dismiss, ECF No. 15-1 at 25.

The Court disagrees. Raines would have required a drastic

extension of Coleman because the nature of the vote

nullification in Coleman was different from the “abstract

dilution of legislative power” alleged in Raines. Raines, 521

U.S. at 826. And critically, the Raines plaintiffs had adequate

legislative remedies at their disposal. Id. at 824. Here, by

contrast, the President’s complete nullification of plaintiffs’

votes is entirely different from the “abstract dilution of

legislative power” alleged in Raines. Id. at 826. And as will be

explained in detail, plaintiffs have no adequate legislative

remedies. See infra Section IV.C.4.




12For the same reason, the Court rejects the President’s
argument that plaintiffs’ reliance on the vote nullification
theory articulated in Coleman is misplaced to the extent they
claim their injury encompasses being deprived of the option of
not voting because none of the precedent recognizes such an
injury. Reply, ECF No. 28 at 17.
                                   37
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 38 of 58



             c. Plaintiffs’ Alleged Injury is Personal,
                Particularized and Concrete

     Plaintiffs allege that the President has accepted, and

intends to continue accepting, prohibited foreign emoluments

without seeking congressional consent, thereby depriving them of

the opportunity to vote on whether to consent to his acceptance

of emoluments before he accepts them. Am. Compl., ECF No. 14 ¶¶

3-4. Plaintiffs’ injury is to a “legally protected interest”

because the Clause prohibits the President from accepting “any”

emolument from “any King, Prince, or foreign State” without the

consent of Congress. U.S Const. art. I, § 9, cl. 8. Consent is

obtained through the aggregate of the specific votes that each

individual Member of Congress is entitled to take. Id. art. I, §

1; art. I, § 3, cl. 1; art. I, § 5, cl. 3. Although this injury

is dispersed among all Members of Congress, as will necessarily

be the case when an institutional injury is alleged, this does

not render the injury less concrete or particularized. See

Raines, 521 U.S. at 821 (stating an institutional injury will

“necessarily damage all Members of Congress and both Houses of

Congress equally”); Ariz. State Legislature, 135 S. Ct. at 2664

(Plaintiff “is an institutional plaintiff asserting an

institutional injury”). Rather, each time the President

allegedly accepts a foreign emolument without seeking

congressional consent, plaintiffs suffer a concrete and


                                   38
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 39 of 58



particularized injury—the deprivation of the right to vote on

whether to consent to the President’s acceptance of the

prohibited foreign emolument—before he accepts it. And although

the injury is an institutional one, the injury is personal to

legislators entitled to cast the vote that was nullified. See

Raines, 521 U.S. at 823 (narrowing but not overruling the

holding in Coleman); Ariz. State Legislature, 135 S. Ct. at

2664-65 (holding that the legislature has standing to sue);

supra Section IV.C.2.b. Accordingly, plaintiffs adequately

allege that they “have suffered ‘an invasion of a legally

protected interest which is . . . [personal,] concrete and

particularized.’” Raines, 521 U.S. at 819 (quoting Lujan, 504

U.S. at 560).

     The President argues that the injury alleged here is

insufficiently concrete to give the plaintiffs a “personal stake

in the dispute” because the injury “damages all Members of

Congress and both Houses of Congress equally.” Reply, ECF No. 28

at 10 (quoting Raines, 521 U.S. at 821, 830). Furthermore,

according to the President, the alleged injury cannot support

Article III standing because it is felt equally by all Members

of Congress “solely because they are Members of Congress,” as

distinct from the personal injury alleged in Powell. Reply, ECF

No. 28 at 11 (quoting Raines, 521 U.S. at 821). The Court

disagrees. The Raines Court recognized two types of injuries

                                   39
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 40 of 58



that could support legislator standing: (1) a personal injury

such as that typified in Powell; and (2) an institutional

injury—vote nullification—such as that in Coleman. Raines, 521

U.S. at 829-30. An institutional injury will “necessarily damage

all Members of Congress and both Houses of Congress equally” and

will be felt equally by Members of Congress “solely because they

are Members of Congress.” Id. at 821. And as explained, supra at

30-31, by reaffirming Coleman in Raines and Arizona State

Legislature, the Supreme Court necessarily held that the

institutional injury alleged was sufficiently personal to each

of the plaintiffs to satisfy the standing requirement under

Article III.

                i. Plaintiffs’ Alleged Injury is Distinguishable
                   from the Injuries Alleged in the Precedent

     The President argues that plaintiffs’ claims are squarely

foreclosed by Raines. The Court disagrees. As an initial matter,

the President reads Raines to establish “a foundational

principle that the denial of institutional legislative

prerogative is not a judicially cognizable injury.” Mot. to

Dismiss, ECF No. 15-1 at 16. This broad principle, however, is

not supported by Raines. Raines establishes that legislators may

have standing based on the nullification of their votes, which

is an institutional, as opposed to a personal, injury. Raines,

521 U.S. at 821-23. To establish the broad principle asserted by


                                   40
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 41 of 58



the President, the Raines Court would have needed to overrule

Coleman. Not only did the Raines Court not overrule Coleman, but

the Court also relied on Coleman to uphold standing in Arizona

State Legislature, in which the alleged injury was deprivation

of a legislative prerogative. Ariz. State Legislature, 135 S.

Ct. at 2663.

     The President argues that the injury alleged here amounts

only to a “dilution of institutional legislative power.” Mot. to

Dismiss, ECF No. 15-1 at 22 (quoting Raines, 521 U.S. at 820).

Moreover, according to the President, there is little difference

between the claim in Raines and the claim here because the

members in Raines argued that the challenged Act “deprived them

of ‘their constitutional role in the repeal of legislation’”

which “does not differ materially from Plaintiffs’ claim that

they have been denied their constitutional role in deciding

whether to consent to the President’s acceptance of allegedly

prohibited foreign emoluments,” Reply, ECF No. 28 at 10-11

(quoting Raines, 521 U.S. at 816). In so arguing, the President

insists that plaintiffs’ claimed injury is indistinguishable

from the claimed injury in Chenoweth. Mot. to Dismiss, ECF No.

15-1 at 23-24. The Court disagrees. The injury alleged here is

distinguishable from those alleged in Raines and Chenoweth. In

Raines, plaintiffs sued after being on the losing side of the

vote that enacted the Line Item Veto Act, alleging that their

                                   41
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 42 of 58



injury was the diminution of legislative power caused by the

Act. Raines, 521 U.S. at 814. In Chenoweth, plaintiffs sued

after their bill seeking to end a program created by the

President by Executive Order failed to be brought to a vote,

alleging that their injury was that Members of Congress had been

deprived of their right to vote on the Presidentially-created

program. Chenoweth, 181 F.3d at 112. In each case, plaintiffs

either lost the vote in Congress or did not have the political

influence to bring their bill to a vote, and then sought relief

in the courts. Here, by contrast, plaintiffs’ alleged injury is

caused by the President’s alleged acceptance of prohibited

foreign emoluments before seeking and obtaining congressional

consent, not by any action taken or not taken by their

congressional colleagues. See Chenoweth, 181 F.3d at 117 (“it

was the President’s veto—not a lack of legislative support—that

prevented the bill from becoming a law”); infra Section

IV.C.3.a. The President’s repeated misstatement of the injury

does not change the nature of plaintiffs’ alleged injury.

Finally, the President’s alleged acceptance of a prohibited

foreign emolument before obtaining congressional consent does

not “dilute” plaintiffs’ legislative power because they do not

allege injury to their ability to legislate on the issue of

emoluments.



                                   42
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 43 of 58




          3. Separation-of-Powers Considerations

             a. Plaintiffs Lack Adequate Legislative Remedies

     The Court does agree with the President that, “when

legislators possess ‘political tools with which to remedy their

purported injury,’ they may not seek the aid of the Judiciary.”

Mot. to Dismiss, ECF No. 15-1 at 26 (quoting Campbell, 203 F.3d

at 23-24). But here, plaintiffs lack such tools.

     In addition to Congress bringing the bills currently

pending to a vote, see supra Section IV.C.2.b.i, the President

suggests that the following types of legislation would provide

plaintiffs with a legislative remedy: (1) voting on whether what

plaintiffs allege “constitute[s] violations of the Foreign

Emoluments Clause by the President and whether Congress should

provide its consent,” Mot. to Dismiss, ECF No. 15-1 at 2;

(2) “vot[ing] on a private bill [13] consenting to the receipt of

what it construed to be emoluments received from foreign

governments or a joint resolution expressing its disagreement

with such receipt,” id. at 24; and/or (3) “vot[ing] on a joint




13A private bill is legislation that addresses a matter of
narrow interest, which after being passed in identical form by
the House and Senate, is submitted to the President for
signature. United States Senate, Bills and Resolutions,
Legislation, Laws and Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three_sections_w
ith_teasers/bills.htm.
                                   43
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 44 of 58



resolution[14] that provides what Congress perceives to be the

proper definition of an emolument and prohibits any and all

emoluments, including ones unknown to Congress,” Reply, ECF No.

28 at 18. According to this argument, plaintiffs have ample

legislative remedies at their disposal; they just don’t have the

votes.

     The President’s purported legislative remedies are clearly

inadequate within the meaning of Raines. Raines, 521 U.S. at 829

(legislative remedy must be an “adequate” remedy). In Raines,

Chenoweth, and Campbell, adequate legislative remedies were

available to redress the plaintiffs’ grievances. In Raines, “a

majority of Senators and Congressmen c[ould] pass or reject

appropriations bills; the Act has no effect on this process.

Moreover, a majority of Senators and Congressmen c[ould] vote to

repeal the Act, or to exempt a given appropriations bill (or a

given provision in an appropriations bill) from the Act; again,

the Act has no effect on this process.” Id. at 824. In

Chenoweth, “[i]t [was] uncontested that the Congress could



14A joint resolution, with one exception, is legislation that
requires the approval of both the House and Senate and is
submitted to the President for signature. The exception is when
the joint resolution proposes a constitutional amendment. United
States Senate, Bills and Resolutions, Legislation, Laws and
Acts, available at
https://www.senate.gov/pagelayout/legislative/d_three_sections_w
ith_teasers/bills.htm.


                                   44
        Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 45 of 58



terminate the AHRI were a sufficient number in each House so

inclined.” Chenoweth, 181 F.3d at 116. And in Campbell,

“Congress certainly could have passed a law forbidding the use

of U.S. forces in the Yugoslav campaign.” Campbell, 203 F.3d at

23.15

        Here, by contrast, legislation on the emoluments issue does

not provide an adequate remedy. First, in asking this Court to

accept the proposition that legislation on the emoluments issue

would be an adequate remedy, the President asks this Court to

ignore this constitutional Clause. The Court may not do so. See

Marbury, 1 Cranch at 174 (“It cannot be presumed that any clause

in the constitution is intended to be without effect           . . . .”).   The

Clause is unambiguous: acceptance is prohibited without

“Consent.” U.S Const. art. I, § 9, cl. 8. The Clause therefore

places the burden on the President to convince a majority of

Members of Congress to consent. The legislation suggested by the

President flips this burden, placing the burden on Members of

Congress to convince a majority of their colleagues to enact the

suggested legislation. This is not what the Clause requires.




15The President disputes that the precedent requires “political
remedies [to] put the plaintiff members back in the same
position as if the Executive had not caused the alleged injury
in the first place.” Reply, ECF No. 28 at 17. This is beside the
point because in each case, there was an adequate legislative
remedy, whereas here there is none.
                                      45
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 46 of 58



     Second, the President does not explain why such

legislation, assuming he signed it, would prevent him from

accepting prohibited foreign emoluments. His failure to explain

is especially problematic given that the Constitution itself has

not prevented him from allegedly accepting them. Third, the

President does not explain how the proposed legislation would be

adequate in view of the allegation that the President has not

provided any information to Congress about the prohibited

foreign emoluments he has received, and that he does not intend

to change this practice. Am. Compl., ECF No. 14 ¶¶ 40, 41.

Legislating after Congress happens to learn about his acceptance

of a prohibited foreign emolument through news reports is

clearly an inadequate remedy. Fourth, legislation disagreeing

with the President’s acceptance of prohibited foreign emoluments

does not provide a remedy for him already having allegedly

accepted them without seeking and obtaining consent. Finally,

legislation would neither prevent the President from accepting

future prohibited foreign emoluments, nor force him to return

those he has already accepted.

     Furthermore, and in contrast to the situation in Chenoweth

and Campbell, Congress’ appropriations power cannot be used to

obtain a legislative remedy, such as refusing to appropriate

funds for an Executive Branch program or for participation in a

war, because there are no federal appropriations associated with

                                   46
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 47 of 58



the President’s receipt of prohibited foreign emoluments. This

is another aspect of the Clause that makes it unusual. The

President suggests that among plaintiffs’ legislative remedies

is the use of Congress’ appropriations power to retaliate

against him for his alleged acceptance of prohibited foreign

emoluments by “tak[ing] action on matters not directly related

to emoluments.” Reply, ECF No. 28 at 18. Courts have treated

Congress’ use of its appropriations power as a legislative

remedy in situations in which failing to provide funding could

actually resolve the dispute. See, e.g., Campbell, 203 F.3d at

23 (“Congress always retains appropriations authority and could

have cut off funds for the American role in the conflict.”).

Here, however, Congress lacks a “broad range of legislative

authority it can use to stop” the President from failing to seek

consent before accepting prohibited foreign emoluments.

Campbell, 203 F.3d at 24 (noting that where “Congress has a

broad range of legislative authority it can use to stop a

President’s” action, Congress cannot mount a challenge to that

action pursuant to Raines).

     Finally, the availability of the extreme measure of

impeachment, see Campbell, 203 F.3d at 23 (noting that “there

always remains the possibility of impeachment should a President

act in disregard of Congress’ authority”), to enforce the

President’s compliance with the Clause is not an adequate remedy

                                   47
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 48 of 58



within the meaning of Raines. Cf. Nat’l Treasury Emp. Union v.

Nixon, 492 F.2d 587, 615 (D.C. Cir. 1974) (“the Constitution

should not be construed so as to paint this nation into a corner

which leaves available only the use of the impeachment process

to enforce the performance of a perfunctory duty by the

President”).

               b. Capable of Resolution Through the Judicial
                  Process

     Raines also instructs the Court to consider whether “the

dispute is ‘traditionally thought to be capable of resolution

through the judicial process.’” Raines, 521 U.S. at 819 (quoting

Flast, 392 U.S. at 97). The President argues that it is not

because “every[16] confrontation between one or both Houses of

Congress and the Executive Branch has been resolved through the

political process rather than through suits brought by

legislators.” Reply, ECF No. 28 at 10 (citing Raines, 521 U.S.

at 826). Plaintiffs respond that the Raines Court discussed the

novelty of litigation between the legislative and executive


16Again, the President has overstated the proposition. What the
Raines Court said was “in analogous confrontations between one
or both Houses of Congress and the Executive Branch, no suit was
brought on the basis of claimed injury to official authority or
power.” Raines, 521 U.S. at 826 (emphasis added). In Kennedy v.
Sampson, the D.C. Circuit held that Senator Kennedy had standing
to bring the suit and the Court issued a declaratory judgment
ruling that the President’s failure to take action on the bill
at issue did not result in a pocket veto, but instead the bill
became law. 511 F.2d at 442. Such suits are therefore not
nonexistent.
                                   48
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 49 of 58



branches, noting that it “appear[ed]” to argue against the

plaintiffs, but did not elaborate further. Pls.’ Opp’n, ECF No.

17 at 20.

     The Raines Court’s examples of analogous confrontations

between Congress and the Executive Branch are distinguishable

from the situation here. In Raines, the Court discussed at

length the fact that no President sued to challenge the

constitutionality of the Tenure of Office Act. Raines, 521 U.S.

at 826. That Act, which required the consent of the Senate for

the President to remove an official whose appointment to the

Executive Branch required Senate confirmation, was passed in

1867 and repealed in 1887. Id. The Raines Court stated that if

federal courts had become involved, “they would have been

improperly and unnecessarily plunged into the bitter political

battle being waged between the President and Congress” over the

Act. Id. at 827. Here, there is no “bitter political battle”

between the President and Congress over the constitutionality of

an Act passed, and ultimately repealed, by Congress that

impinged on the President’s appointments authority. Id.

     Two of the other three examples cited by the Raines Court

involved constitutional challenges to legislation that

impermissibly altered the power of the Legislative or Executive

Branch, but where the claim was not brought by one branch

against the other. See INS v. Chadha, 462 U.S. 919, 959

                                   49
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 50 of 58



(1983)(holding the one House congressional veto provision in

Section 244(1)(2) of the Immigration and Nationality Act to be

unconstitutional); Buckley v. Valeo, 424 U.S. 1, 140 (1976)

(holding the provisions of the then-existing Federal Election

Campaign Act of 1971 that “vest[ed] in the [Federal Election]

Commission primary responsibility for conducting civil

litigation in the courts of the United States for vindicating

public rights, violate[d] Art. II, § 2, cl., 2, of the

Constitution.”). These cases are distinguishable because here,

plaintiffs do not allege that their injury has been caused by a

similar type of legislation passed by Congress and signed into

law by the President. Furthermore, there is no legislative

remedy. In the final example, the Supreme Court held that a bill

that was presented to the President less than ten days before a

congressional session was adjourned did not become law when the

President “neither signed the bill nor returned it to the

Senate” in a challenge brought by certain Native American

Tribes. Okanogan, Methow, San Poelis (or San Poil), Nespelem,

Colville, and Lake Indian Tribes or Bands of the State of

Washington v. United States, 279 U.S. 655, 673, 691-92 (1929).

This case is distinguishable for the same reasons—at issue there

was the legal status of a bill that had been passed by both

Houses of Congress and presented to the President less than ten

days before the adjournment of the congressional session. The

                                   50
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 51 of 58



decision to do so had been made by Congress and could be

remedied by Congress.

     Similarly, this is not a situation in which plaintiffs

disagree with the manner in which the President is administering

or enforcing the law. See United States v. Windsor, 570 U.S.

744, 789 (2013) (Scalia, J. dissenting) (Ours is not a “system

in which Congress and the Executive can pop immediately into

court, in their institutional capacity, whenever the President .

. . implements a law in a manner that is not to Congress’

liking.”). Neither is it the situation in Raines where the Court

rejected the plaintiffs’ ability to sue the President over the

exercise of a statutory provision they believed to be

unconstitutional. Raines, 521 U.S. at 830. Furthermore, although

historical practice militates against Members of Congress

turning to the Courts to resolve a dispute for which there is a

legislative resolution, as explained supra Section IV.C.3.a,

there is no adequate legislative remedy here.

     This case does not raise the concern that the Court, in

exercising jurisdiction over plaintiffs’ claims, would be

engaging in some kind of “amorphous general supervision of the

operations of government.” Id. at 826 (quoting Richardson, 418

U.S. at 194 (Powell, J., concurring)). Rather, this dispute

raises concrete legal questions that are within the purview of

the federal courts to adjudicate: (1) what is an emolument;

                                   51
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 52 of 58



(2) what does it mean to accept an emolument; and (3) whether

the President has violated the Foreign Emoluments Clause. The

President contends that “Congress is far better equipped than

the courts to assess whether particular arrangements violate the

Foreign Emoluments Clause, and if so, how best to address the

violation.” Reply, ECF No. 28 at 18. While Congress clearly has

the power to legislate on the issue of emoluments, “it is ‘the

duty of the judicial department’—in a separation-of-powers case

as in any other—‘to say what the law is.’” N.L.R.B. v. Canning,

134 S. Ct. 2550, 2560 (2014) (quoting Marbury, 1 Cranch at 177).

Therefore, it is the role of the Judiciary to “say what the law

is” regarding the meaning of the Foreign Emoluments Clause and

the President’s compliance with it. Cf. United States v. Nixon,

418 U.S. 683, 705 (1974) (“We therefore reaffirm that it is the

province and duty of this Court ‘to say what the law is’ with

respect to the claim of privilege asserted in this case.”)

(quoting Marbury, 1 Cranch at 177). The President does not

dispute the role of the courts in interpreting the Constitution,

but rejects the proposition that judicial review is appropriate

here because “Congress continues to possess effective tools that

would serve as checks on the Executive.” Def.’s Suppl. Br. in

Support of his Mot. to Dismiss and in Response to the Brs. of

Amici Curiae (“Def.’s Suppl. Br.”), ECF No. 51 at 26-27.

Nevertheless, as explained supra Section IV.C.3.a, there are no

                                   52
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 53 of 58



adequate legislative remedies here.

     Furthermore, unlike in Raines, the dispute here is neither

an “interbranch dispute about calibrating the legislative and

executive powers [nor] is it an intrabranch dispute between

segments of Congress itself,” either of which would counsel

against judicial involvement based on separation-of-powers

principles. Raines, 521 U.S. at 833 (Souter, J., concurring).

Rather, this dispute is about the President’s alleged refusal to

seek consent prior to his alleged acceptance of prohibited

foreign emoluments that he receives as a result of his personal

financial interests. The President has strenuously attempted to

frame the dispute as “an intrabranch dispute between segments of

Congress itself,” see Raines, 521 U.S. at 833 (Souter, J.,

concurring), but as the Court has thoroughly explained, supra

Section IV.3.A, this characterization is incorrect.

     Accordingly, although this case implicates separation-of-

powers concerns, finding standing here “keep[s] the Judiciary’s

power within its proper constitutional sphere.” Raines, 521 U.S.

at 820. As the Court has explained, plaintiffs’ claim of

standing is not based on a “loss of political power,” see id. at

821, as was the case in Raines, because the injury alleged is

not an injury to their power to legislate on the issue of

emoluments. And since plaintiffs have no adequate legislative

remedy, they appropriately seek relief in federal court. See

                                   53
        Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 54 of 58



Valley Forge Christian Coll., 454 U.S. at 473-74 (“exercis[ing]

. . .    judicial power has been recognized as a tool of last

resort”).

             4. The Ability of Another Plaintiff to Bring this Case

        Raines instructs the Court to consider whether another

plaintiff could bring the case. Raines, 521 U.S. at 829 (noting

that the Court’s holding did not foreclose a constitutional

challenge by someone with standing). At oral argument, the Court

asked counsel for the President a hypothetical question:

Whether, if this case had been brought by Congress as an

institutional plaintiff, counsel would agree that it would have

standing. Hr’g Tr., ECF No. 54 at 71:2-6. The government refused

to concede that it would. Id. at 71:7-25, 77:5-20. At the same

time, counsel stated, “[j]ust because these plaintiffs don’t

have standing, it doesn’t mean another plaintiff in a proper

case might not have standing.” Id. at 76:2-3. When pressed by

the Court about who that plaintiff would be, counsel conceded:

“I have a hard time thinking through which plaintiff would be a

proper plaintiff to enforce the Emoluments Clause.” Id. at 76:8-

10. That no plaintiff would have standing to challenge the

President’s alleged violation of the Clause is certainly

consistent with the President’s argument that “when an official

fails to first seek congressional consent before accepting

emoluments prohibited by the Foreign Emoluments Clause, it only

                                      54
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 55 of 58



means that the official has violated the Clause, not that each

Member of Congress automatically acquires a judicially

cognizable personal stake to challenge the violation.” Def.’s

Suppl. Br., ECF No. 51 at 11. The faulty premise underlying the

President’s argument, however, is that there is a legislative

remedy for violating the Clause.        Hr’g Tr., ECF No. 54 at 79:12-

80:18.

     The Court is aware of one existing 17 challenge to the

President’s receipt of prohibited foreign emoluments. However,

that challenge seeks to remedy entirely different injuries: The

District of Columbia alleges injuries to its quasi-sovereign

interest and its proprietary interest, and the State of Maryland

alleges injuries to its sovereign interests, quasi-sovereign

interest and its proprietary interest. See District of Columbia

v. Trump, 291 F. Supp. 3d 725, 735 (D. Md. 2018).

     Accordingly, if these plaintiffs do not have standing to

bring their claims to address their alleged injury, it is

unlikely that another plaintiff would, rendering the Clause

unenforceable against the President except via impeachment. As

explained, supra at 45, impeachment is an inadequate remedy

within the meaning of Raines.


17Another challenge was dismissed for lack of standing. See
Citizens for Responsibility and Ethics in Washington v. Trump,
276 F. Supp. 3d 174 (S.D.N.Y. 2017), appeal docketed, No. 18-474
(2d Cir. 2018).
                                   55
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 56 of 58



          5. Traceability and Redressability

     “A plaintiff must allege a personal injury fairly traceable

to the defendant’s allegedly unlawful conduct and likely to be

redressed by the requested relief.” Allen, 468 U.S. at 751.

The President contends that “[p]laintiffs’ alleged injury is not

traceable to the President: The President has not prevented

Congress from voting on whether he may accept emoluments, and

Plaintiffs remain free to convince their congressional

colleagues to redress their alleged injury.” Reply, ECF No. 28

at 8. The Court disagrees. Again, the President has misstated

the alleged injury. Moreover, this matter is before the Court on

a motion to dismiss and the Court must take as true the facts

that are alleged in the complaint. Plaintiffs’ well-pleaded

complaint alleges that the President has accepted prohibited

foreign emoluments without first seeking the consent of

Congress. Am. Compl., ECF No. 14 ¶¶ 4-5. The alleged injury is

therefore directly traceable to the President’s alleged failure

to seek Congressional consent.

     Plaintiffs seek declaratory relief in the form of a

declaratory judgment stating that the President is violating the

Clause when he accepts emoluments from foreign states without

first seeking the consent of Congress, and injunctive relief in

the form of an order from the Court enjoining the President from

accepting “any present, Emolument, Office, or Title, of any kind

                                   56
      Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 57 of 58



whatever” from a foreign state without obtaining “the Consent of

Congress.” Id., ECF No. 14 ¶¶ 84-92. The President contends that

the injunctive relief sought by plaintiffs is unconstitutional,

Mot. to Dismiss, ECF No. 15-1 at 56-58; Reply, ECF No. 28 at 31-

34, but does not contest that injunctive relief, were it

available, would redress plaintiffs’ injury, see generally Mot.

to Dismiss, ECF No. 15-1; Reply, ECF No. 28. Whether injunctive

relief is available here is a merits determination that the

Court need not reach at this juncture, and the Court cannot

assume, for the purposes of determining whether plaintiffs have

standing, that injunctive relief would be unconstitutional.

Because the President’s alleged violation of the Clause could be

redressed by the declaratory and injunctive relief sought,

plaintiffs have satisfied the redressability component of the

standing inquiry.

V.   Conclusion

      Accordingly, the Court finds that plaintiffs have standing

to sue the President for allegedly violating the Foreign

Emoluments Clause. The Court therefore DENIES IN PART the motion




                                    57
     Case 1:17-cv-01154-EGS Document 59 Filed 09/28/18 Page 58 of 58



to dismiss and DEFERS ruling on the remaining arguments in the

motion to dismiss. An appropriate Order accompanies this

Memorandum Opinion.

SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          September 28, 2018




                                   58
